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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )               Crim. Action No. 18-0260 (ABJ)
                                    )
W. SAMUEL PATTEN,                   )
                                    )
                  Defendant.        )
____________________________________)


                                            ORDER

       On May 6, 2019, after pleading to one count of violating the Foreign Agents Registration

Act, defendant W. Samuel Patten was placed on probation/supervised release for a period of

three years. See Judgment [Dkt. # 47]. Defendant has filed a Motion for Early Termination of

Probation [Dkt. # 49], and the government does not oppose his request. Gov’t Response to Mot.

for Early Termination of Probation [Dkt. # 51]. In consideration of defendant’s motion and the

government’s response, defendant’s compliance with his conditions of release to date, and in the

interests of justice, it is ORDERED that defendant’s motion is GRANTED. Defendant is hereby

discharged from probation/supervision, and the proceedings in this case shall be terminated.

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge
DATE: May 19, 2020
